Case: 2:22-cv-02580-SDM-CMV Doc #: 88 Filed: 04/19/24 Page: 1 of 3 PAGEID #: 1580




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                     :
 FREE STATE OF BAVARIA, represented by               :       Case No. 2:22-cv-02580-SDM-CMV
 THE UNIVERSITY OF WÜRZBURG,                         :
                                                     :       Judge Sarah D. Morrison
          Plaintiff,                                 :
                                                     :       Magistrate Judge Chelsey M. Vascura
                         v.                          :
                                                     :
 THE OHIO STATE UNIVERSITY, et al.,                  :
                                                     :
          Defendants.                                :
                                                     :

                                    JOINT STATUS REPORT

       Pursuant to the Court’s Notation Order entered on October 25, 2023, (ECF No. 87), in
the above-captioned proceeding, Plaintiff Free State of Bavaria, represented by The University of
Würzburg (“UW”), Defendants Nationwide Children’s Hospital and The Research Institute at
Nationwide Children’s Hospital (together, “NCH”), and Defendant Dr. Brian Kaspar (“Dr.
Kaspar”), through their undersigned counsel, hereby submit this joint status report.

        By way of Opinion and Order entered on April 24, 2023, (ECF No. 85), the Court stayed
this matter pending resolution of UW’s related state action against The Ohio State University
(“OSU”) before the Ohio Court of Claims (the “State Action”). The Court contemporaneously
denied NCH and Dr. Kaspar’s Motions to Dismiss (ECF Nos. 58, 59) without prejudice to refiling
after the stay is lifted. (ECF No. 85 at 11).

        UW’s State Action, captioned Free State of Bavaria, represented by The University of
Würzburg v. The Ohio State University, No. 2022-00495JD (Ohio Ct. Cl.), will proceed to a bench
trial before the Honorable David E. Cain on May 6 through May 10, 2024. All of UW’s claims
against OSU, other than the claim for Rescission, remain for determination at trial after Judge
Cain granted in part and denied in part OSU’s Motion for Summary Judgment on February 28,
2024. On March 18, 2024, UW and OSU filed their respective pretrial statements and exhibit lists,
and on March 25, 2024, Judge Cain held a pretrial conference and established a schedule for UW’s
and OSU’s submission of trial materials to the Court. As it relates to the parties in the instant case,
UW expects to present at trial the designated video-recorded deposition testimony of Dr. Kaspar.

         Accordingly, the parties respectfully request the opportunity to file another joint status
report with the Court upon the resolution of the State Action or in three months, whichever is
earlier. The parties thank the Court for its continued attention to this matter.

                                  (Signatures on following page)
Case: 2:22-cv-02580-SDM-CMV Doc #: 88 Filed: 04/19/24 Page: 2 of 3 PAGEID #: 1581




        Respectfully submitted,

/s/ Justin M. Croniser                                /s/ Kara M. Mundy (per email consent 04/18/24)
Justin M. Croniser (0079462)                          William G. Porter (0017296)
HAHN LOESER & PARKS LLP                                   Trial Attorney
200 Public Square, Suite 2800                         Kara M. Mundy (0091146)
Cleveland, OH 44114                                   VORYS, SATER, SEYMOUR AND
Telephone: (216) 621-0150                             PEASE LLP
Fax: (216) 241-2824                                   52 East Gay Street
jcroniser@hahnlaw.com                                 Columbus, OH 43216
                                                      Telephone: (614) 464-5448
        -and-
                                                      Fax: (614) 719-4911
Joseph V. Saphia (NY Bar No. js3680; PHV)             wgporter@vorys.com
   Trial Attorney                                     kmmundy@vorys.com
Jessica H. Zafonte (NY Bar No. jz7813; PHV)
                                                           -and-
CHIESA SHAHINIAN & GIANTOMASI P.C.
11 Times Square, 34th Floor                           Natalie A. Bennett (PHV)
New York, NY 10036                                    MORGAN, LEWIS & BOCKIUS LLP
Telephone: (212) 324-7229                             1111 Pennsylvania Avenue, 7th Floor
jsaphia@csglaw.com                                    Washington, DC 20004
jzafonte@csglaw.com                                   Telephone: (202) 739-5559
Attorneys for Plaintiff Free State of Bavaria,        Fax: (202) 739-3001
represented by The University of Würzburg             natalie.bennett@morganlewis.com
                                                           -and-
/s/ Shawn J. Organ (per email consent 04/18/24)       John V. Gorman (PHV)
Shawn J. Organ (0042052)                              Rachel A. Ward (PHV)
    Trial Attorney                                    MORGAN, LEWIS & BOCKIUS LLP
Connor A. Organ (0097995)                             1701 Market Street
ORGAN LAW LLP                                         Philadelphia, PA 19103
1330 Dublin Road                                      Telephone: (215) 963-5000
Columbus, OH 43215                                    Fax: (215) 963-5001
Telephone: (614) 481-0900                             john.gorman@morganlewis.com
Fax: (614) 481-0904                                   rachel.ward@morganlewis.com
sjorgan@organlegal.com                                     -and-
corgan@organlegal.com
                                                      Krista Vink Venegas, Ph.D. (PHV)
        -and-                                         MORGAN, LEWIS & BOCKIUS LLP
Andrew K. Walsh (PHV)                                 110 North Wacker Drive, Suite 2800
Emerson Bursis (PHV)                                  Chicago, IL 60606
HUESTON HENNIGAN LLP                                  Telephone: (312) 324-1736
523 West 6th Street, Suite 400                        krista.venegas@morganlewis.com
Los Angeles, CA 90014                                 Attorneys for Defendant Nationwide
Telephone: (213) 788-4340                             Children’s Hospital and The Research
awalsh@hueston.com                                    Institute at Nationwide Children’s Hospital
ebursis@hueston.com
Attorneys for Defendant Dr. Kaspar


                                                  2
Case: 2:22-cv-02580-SDM-CMV Doc #: 88 Filed: 04/19/24 Page: 3 of 3 PAGEID #: 1582




                               CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2024, I caused the foregoing Joint Status Report to be
electronically filed with the Clerk of Court and served on all counsel of record via the CM/ECF
filing system.

                                                           /s/ Justin M. Croniser
                                                           Justin M. Croniser
                                                           One of the Attorneys for Plaintiff




                                               3
